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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION
JACQUES RIVERA,                                     )
                                                    )           No. 12 C 4428
              Plaintiff,                            )
                                                    )           Hon. Joan B. Gottschall,
              v.                                    )           District Judge
                                                    )
REYNALDO GUEVARA, et al.,                           )           Hon. Mary M. Rowland,
                                                    )           Magistrate Judge
              Defendants.                           )
                                                    )           JURY TRIAL DEMANDED


    PLAINTIFF’S MOTION TO BAR UNDISCLOSED WITNESS CELESTE STACK

        Now comes Plaintiff, Jacques Rivera, by his attorneys, and respectfully moves to bar

Defendants from calling former Assistant State’s Attorney Celeste Stack, a previously

undisclosed witness. In support, Plaintiff states as follows:

                                            Introduction

    1. Defendants’ counsel have just communicated an intention to attempt to prolong the trial by

calling a totally undisclosed witness to offer hearsay testimony on a collateral issue that has already

been exhaustively discussed, namely, the “umbrella” examination that was explored ad nauseam

during the examination of former detective Bill Dorsch. Defendants should be barred from doing so.

    2. Specifically, last night, the Defendants informed Plaintiff that they intend to call former

Assistant State’s Attorney Celeste Stack. Ms. Stack was not disclosed in discovery and was not

disclosed on the Final Pretrial Order. After court today Defendants revealed that they intend to call

her tomorrow (Friday, June 22). There is no justification for allowing Defendants to suddenly spring

this previously undisclosed witness. Indeed, the Court granted Defendants’ motion to bar Plaintiff’s

undisclosed witnesses on grounds equally applicable to the present dispute. Dkt. 536. Defendants

should be held to the same standard.

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   3. In addition, Ms. Stack has no admissible testimony to provide. She is being called to

challenge the testimony of former detective Bill Dorsch; and in particular, from what Plaintiff can

surmise, to testify that a few years ago she interviewed one of the witnesses from the Jimenez

case—the case that Mr. Dorsch testified is not the one in which Defendant Guevara told a juvenile

who to pick from a photo array. Her anticipated testimony is that the witness in the other case told

her a story inconsistent with the one Mr. Dorsch has told about the case in which he observed

Guevara’s misconduct. There are a lot of problems with this testimony. For one, Mr. Dorsch

testified that the Jimenez witness who Ms. Stack spoke to is not the same person who he observed

Guevara manipulate. In addition, the evidence that Defendants seek to admit through Ms. Stack is

inadmissible hearsay. Moreover, permitting Ms. Stack—a prosecutor who advocated to keep many

Geuvara victims in prison—to testify would open up an array of issues relating to impeachment of

credibility and evidence of her bias that would substantially prolong the trial. Even if there were not

fatal disclosure issues, these evidentiary concerns, along with other Rule 403 considerations, plainly

warrant barring Ms. Stack from testifying.

                                              Discussion

   4. First, during four years of fact discovery in this case, Defendants never disclosed Celeste

Stack as a potential witness. Her name was also absent from the Final Pretrial Order. Dkt. 377, 515

(Defendants’ witness list includes 54 potential witnesses, but not Ms.Stack). On that basis alone,

and consistent with the Court’s ruling on Defendants’ own motion on the same subject, she should

be barred.

   5. Second, there is also no excuse for the failure to disclose Ms. Stack far earlier. Defendants

have known about Ms. Stack since at least April 14, 2015 when they took the deposition of Mr.

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Dorsch. That was more than a year before fact discovery closed. At that deposition, they asked Mr.

Dorsch almost 100 pages of questions about the case in which he alleges Guevara committed

misconduct. Exhibit A (Dorsch Dep.) at 318-411. They referred specifically to the Cook County

State’s Attorneys’ Office (“CCSAO”) investigation into Mr. Dorsch’s allegations, which Ms. Stack

was involved in, and they asked him a series of questions about the CCSAO interviews of the

purported “juvenile” witnesses (i.e., the juveniles from the “Jimenez” case that the City insists are

the ones Mr. Dorsch is talking about). Ex. A at 398-403.

    6. In other words, at that time the Defendants were fully aware of what Mr. Dorsch would

testify to and that Ms. Stack could be a potential rebuttal witness, and so after failing to disclose her

they cannot now call her as a purported rebuttal witness. See Wilson v. AM General Corp., 167

F.3d 1114, 1122 (7th Cir. 1999) (holding that a party cannot offer in the guise of “rebuttal”

witness testimony that it had reason to know all along would be offered).

    7. Indeed, absolutely nothing surprising happened at trial that would warrant calling an

undisclosed rebuttal witness. The Court had previously ruled that Mr. Dorsch could testify on the

404(b) topic he testified about; he was deposed previously on that topic; and when Defendants stood

up to question him they were hardly surprised: Mr. Sotos was armed and ready with a large, glossy

demonstrative exhibit to attack Mr. Dorsch’s story.

    8. Third, making matters worse, Defendants’ failure to previously disclose Ms. Stack comes

despite fulsome 404(b) discovery closely supervised by Judge Rowland. During discovery,

Defendants insisted that 404(b) discovery be dramatically curtailed, and Judge Rowland accepted

Defendants’ position over Plaintiff’s objection. Dkt. 76.

    9. In that vein, Plaintiff initially disclosed dozens of 404(b) witnesses related to Defendant

Guevara’s misconduct. Plaintiff was then ordered to limit himself to ten 404(b) witnesses, plus Mr.

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Dorsch (who was also a fact witness in this case). Dkt. 76. Plaintiff made his disclosure on January

30, 2014, pursuant to Judge Rowland’s order. See Exhibit B (Jan. 30, 2014 Letter) (“Plaintiff

reserves his right to question William Dorsch, who has been disclosed previously by all parties in

the case, on any subject at trial.”). There is no dispute that Mr. Dorsch was properly disclosed as a

404(b) witness. Because he was disclosed as a 404(b) witness, Defendants questioned him at length

about his knowledge of Defendant Guevara’s misconduct at his deposition (discussed above), and

have never challenged his disclosure on 404(b) topics in any of their pre-trial filings.

    10. Defendants were then given permission to disclose rebuttal witnesses to Plaintiff’s 404(b)

witnesses—without limitation on the number of rebuttal witnesses to each of Plaintiff’s 404(b)

witnesses. They disclosed 25 witnesses to rebut Plaintiff’s narrowed list of 404(b) witnesses.

Exhibit C (Defendants’ Second Supplemental Rule 26(a)(1) Disclosure). Among the 25 names, they

did not disclose Ms. Stack.

    11. Put simply, at Defendants’ insistence Judge Rowland closely supervised 404(b) discovery

and ordered the parties to make disclosures in accordance with her instructions. At no point did

Defendants include Ms. Stack in those disclosures, even though they knew of her knowledge on the

subject of Mr. Dorsch’s testimony at least a year before the end of fact discovery.

    12. Fourth, it would be particularly unfair to permit Defendants to call Ms. Stack now, since

Defendants successfully convinced the Court to bar Plaintiff’s undisclosed witnesses. Dkt. 536. It is

only fair to apply this standard both ways.

    13. In its ruling barring Plaintiff from calling certain witnesses on disclosure grounds, the Court

identified the following relevant factors in deciding whether to permit Plaintiff to call undisclosed

witnesses: “(1) the prejudice or surprise to the party against whom the evidence is offered; (2) the

ability of the party to cure the prejudice; (3) the likelihood of disruption to the trial; and (4) the bad

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faith or willfulness involved in not disclosing the evidence at an earlier date.” David v. Caterpillar,

Inc., 324 F.3d 851, 857 (7th Cir. 2003) (citing Bronk v. Ineichen, 54 F.3d 425, 428 (7th Cir. 1995)).

For the reasons set forth above, along with the fact that the disclosure comes in the middle of the

third week of trial, all of these factors favor barring Ms. Stack.

    14. Fifth, it would be doubly unfair to permit Ms. Stack after barring Plaintiff’s 404(b) witness,

Ms. Evelyn Diaz. Dkt. 536. The disclosure problem is worse in the case of Ms. Stack. Starting with

Ms. Diaz, she was a disclosed witness in this case; she just did not make Plaintiff’s “top ten” list

when he was forced to limit his list. When, four and a half years later at trial some of the people on

Plaintiff’s top ten list were dead or no longer available, Plaintiff sought to add Ms. Diaz as a

replacement, Dkt. 465, at 4-5, but her request was denied on the grounds that there was no timely

disclosure.

    15. Contrast that with Ms. Stack, who was never disclosed in this case at all. And despite no

restrictions on the number of 404(b) rebuttal witnesses Defendants could identify, they never

disclosed her. Defendants cannot now be permitted to call a totally undisclosed witness for whom

Plaintiff been given notice in the middle of the third week of trial.

    16. Sixth, speaking of the third week of trial, the Court should not permit an undisclosed witness

to suddenly come in and testify on a completely collateral issue. The trial has been going on for a

long time; three prosecutors have already been called in this case, with many more witnesses left to

be called. There is simply no justification for adding another witness just disclosed.

    17. Seventh, in addition to all of the reasons above, Ms. Stack has no admissible testimony to

offer. Her only basis to come and testify is that a few years ago, while working at the CCSAO, she

allegedly interviewed a man named Mr. Vargas, from the so-called “Jimenez” case. Any testimony

she has to offer, then, is based on her conversations with the witness, that is, rank hearsay. She

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wants to testify that she heard from Mr. Vargas that Guevara did not do certain things. This

testimony would not be admissible at this trial from Mr. Vargas, much less one step removed.

   18. Eighth, in addition to the hearsay problem, the relevance of Ms. Stack’s testimony is highly

suspect. As discussed at length today at trial, Mr. Dorsch insists that the case Mr. Stack knows

about, the “Jimenez” case, is different than the “umbrella” case; allowing Ms. Stack to now come in

and testify about her conversation with a witness in a case Mr. Dorsch says is not the one at issue is

a waste of time. Of course, Plaintiff acknowledges there is a dispute on this point. But the issue of

what happened with the Umbrella case, or Jimenez case, or whatever you want to call it, has been

beaten to death. Defendants called Mr. Dorsch, and then had two different lawyers vigorously and

redundantly cross-examine him for hours (without exaggeration) about the incident. Defendants

were given ample leeway to press their point, and there is no basis to make this collateral issue any

more of a centerpiece of the trial than it already has become given Defendants’ questioning.

Especially where Defendants’ intention is to extend the trial by calling an undisclosed witness to

offer hearsay testimony on the issue.

   19. Finally, Ms. Stack should not be permitted to testify because her testimony would open the

door to yet additional testimony, elongating the trial even further. Indeed, if someone who comes

with the imprimatur of a former Assistant State’s Attorney is permitted to testify that Mr. Dorsch is

lying (or more accurately, that she heard from someone else that he’s lying), then Plaintiff must be

permitted to present evidence of bias. Bias is always relevant. See Bruce v. City of Chicago, 2011

WL 3471074, at *4 (N.D. Ill. July 29, 2011) (quoting United States v. Abel, 469 U.S. 45, 52

(1984); accord Gavin v. Life Ins. Co. of North America, 2013 WL 2242230, at *2 (N.D. Ill. May

21, 2013); Ratliff v. City of Chicago, 2012 WL 5845551, at *4 (N.D. Ill. Nov. 19, 2012). And

here, the bias takes two important forms: personal and institutional.

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    20. Institutionally, in addition to “exonerating” Mr. Guevara in the Jimenez case, the CCSAO

opposed many of the post-conviction cases involving allegations of Defendant Guevara’s

misconduct that ultimately resulted in exonerations. If the Defendants are permitted to call Ms.

Stack to support Mr. Guevara’s version, Plaintiff would need to show that Ms. Stack had been

deeply involved in the position of her office, and her personal bias on the issue is indisputable and

highly relevant. By way of example, she opposed the post-conviction petitions of William Negron

and Roberto Amodovar; but both of their convictions in Guevara misconduct cases were ultimately

dismissed and Mr. Negron received a certificate of innocence. Group Exhibit D. She also opposed

the post-conviction petition of Ariel Gomez, Group Exhibit E, who was ultimately exonerated. And

finally, and perhaps most egregious, she opposed the post-conviction petitions of Jose Montanez

and Armando Serrano, despite that the law firm Sidley Austin conducted an investigation into

Guevara’s misconduct and determined that Montanez and Serrano were “more likely than not

actually innocent.” Group Exhibit F. Both men then received certificates of innocence.

    21. Against this backdrop, Ms. Stack’s opening argument in the post-conviction hearing is

notable: she asserted that Montanez and Serrano “are guilty of these murders,” and she called them

“mut[t]s who want money.” Exhibit G. If she is permitted to testify, and as a former Cook County

State’s Attorney place her thumb on one side of the scale, that would open the door to the evidence

of her bias, above.

    22. Finally, Ms. Stack’s proposed testimony is completely irrelevant. Defendants were unable to

establish the timeframe in which Mr. Dorsch allegedly learned of the Jimenez allegation. Proving

that Mr. Vargas did or did not tell Ms. Stack things that would have exonerated Guevara in the other

case is not probative to anything at issue.



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                                             Conclusion

        For all of the reasons set forth above, the Defendants should be barred from calling

undisclosed witness Celeste Stack to offer inadmissible opinions on a collateral issue. The parties

already have plenty enough witnesses to get through without protracting the trial unnecessarily.



.                                                      Respectfully Submitted,

                                                       JACQUES RIVERA

                                               By:      /s/ Jon Loevy

                                                       One of Plaintiff’s Attorneys




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                                CERTIFICATE OF SERVICE

        I, Jon Loevy, an attorney, certify that on June 21, 2018, I filed the foregoing Motion
using the Court’s CM/ECF system, which effected service on all counsel of record.

                                               /s/ Jon Loevy_____________
                                              One of Plaintiff’s Attorneys




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